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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

----------------------------------------------------------------- x
In re                                                             :
                                                                  :
MADISON ASSET LLC,                                                : In a Case Under Chapter 15
                                                                  : of the Bankruptcy Code
                                                                  :
Debtor in a Foreign Proceeding.                                   : Case No. 18-___
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       MEMORANDUM OF LAW IN SUPPORT OF VERIFIED PETITION UNDER
        CHAPTER 15 FOR RECOGNITION OF FOREIGN MAIN PROCEEDING

             Martin Nicholas John Trott and Christopher James Smith, in their capacity as the

Joint Official Liquidators (the “Petitioners”) of Madison Asset LLC (in Official Liquidation) (the

“Company”) and as duly authorized foreign representatives as defined by section 101(24) of title

11 of the United States Code (the “Bankruptcy Code”), through their United States counsel,

Norton Rose Fulbright US LLP, respectfully submit this memorandum of law in support of the

Verified Petition under Chapter 15 for Recognition of Foreign Main Proceeding, filed

contemporaneously herewith (the “Verified Petition”).             In support thereof, the Petitioners

respectfully state as follows:

                                   PRELIMINARY STATEMENT

        1.      The Petitioners, as foreign representatives of the Company, commenced this

Chapter 15 case by filing a Chapter 15 Petition a contemporaneously with, and accompanied by,

all certifications, statements, lists and documents required under Chapter 15 and the Federal
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Rules of Bankruptcy Procedure (the “Bankruptcy Rules”). As set forth in (i) the Verified

Petition, and (ii) the Declaration of Marc Kish, Cayman Islands legal counsel to the Petitioners,

dated September 14, 2018 (the “Kish Declaration”):

               (a)     a foreign proceeding respecting the Company was duly commenced in the
                       Cayman Islands;

               (b)     the Company’s registered office is R&H Trust Co, Ltd., PO Box 897,
                       Windward 1, Regatta Office Park, Grand Cayman, KY1-1103, Cayman
                       Islands;

               (c)     the Company is eligible to be a debtor under section 109(a) of the
                       Bankruptcy Code;

               (d)     the Petitioners are duly authorized to serve as foreign representatives and
                       to petition for relief under Chapter 15 of the Bankruptcy Code in
                       connection with the proceeding respecting the Company pending in the
                       Cayman Islands; and

               (e)     the Petitioners are entitled to the relief requested.

       2.      The Petitioners seek recognition of the Company’s liquidation proceeding (the

“Cayman Proceeding”), commenced by the filing of a winding up petition in accordance with

Part V of the Cayman Islands Companies Law (the “Companies Law”) with the Grand Court of

the Cayman Islands (the “Cayman Court”).           On July 4, 2018, pursuant to an order of the

Cayman Court (the “Winding Up Order”), a copy of which is annexed to the Verified Petition as

Exhibit “A,” Mr. Trott was appointed as the Official Liquidator of the Company. Thereafter, by

order dated August 17, 2018 (the “August 17 Order”), a copy of which is annexed to the Verified

Petition as Exhibit “B,” Mr. Smith was appointed as the Joint Official Liquidator of the

Company. As the Joint Official Liquidators of the Company, the Petitioners are responsible for,

inter alia, (i) investigating the event leading to the Company’s failure, (ii) taking possession of

and collecting the Company’s assets, and (iii) realizing and distributing the Company’s assets to

its creditors. The Petitioners, by virtue of their appointment by the Cayman Court, are subject to




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the supervision and oversight of the Cayman Court with respect to the performance of their

duties.

                 3.       Pursuant to an order dated September 5, 2018 (the “September 5 Order”),

a copy of which is annexed to the Verified Petition as Exhibit “C,” the Cayman Court expressly

authorized the Petitioners to seek recognition of the Cayman Proceeding under Chapter 15 of the

Bankruptcy Code. Hence, the Petitioners have commenced this Chapter 15 case and seek an

order substantially in the form of the proposed Order Granting Recognition of a Foreign Main

Proceeding attached to the Verified Petition as Exhibit “D” (the “Proposed Order”).                             In

particular, the Petitioners are requesting all relief afforded automatically upon recognition to a

foreign main proceeding pursuant to section 1520 of the Bankruptcy Code.

          4.     The Petition satisfies all of the requirements set forth in section 1515 of the

Bankruptcy Code. In addition, the Company is eligible to be a debtor under section 109(a) of the

Bankruptcy Code, because it has property in the United States, in the form of an undrawn

retainer in a bank account held by the Petitioners’ U.S. counsel.1

          5.     Based on the foregoing and the reasons described herein and in the Verified

Petition, the Petitioners are entitled to an order granting recognition to the Cayman Proceeding as

a foreign main proceeding under Chapter 15 of the Bankruptcy Code.

                                                    FACTS

          6.     The Court is respectfully referred to the Verified Petition,2 which contains the

relevant facts, all of which are incorporated herein by reference.


1
    In addition to the undrawn retainer, the Company may have cash and securities held in banks in the United
    States. The Petitioners have been informed that certain accounts in the Company’s name were recently closed,
    and the Petitioners intend to seek discovery in order to ascertain if other accounts exist and remain open.
2
    Capitalized terms used but not otherwise defined herein shall have the meaning ascribed to them in the Verified
    Petition.




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                                JURISDICTION AND VENUE

       7.      This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and

1334 and the “Amended Standing Order of Reference” of the United States District Court for the

Southern District of New York (Preska, Loretta C.J.), dated January 31, 2012. This is a core

proceeding pursuant to 28 U.S.C. § 157(b)(2)(P).

       8.      Venue is properly located in this District pursuant to 28 U.S.C. § 1410.

                                          ARGUMENT

I.     The Company is Eligible to be a Debtor under Section 109 of the Bankruptcy Code

       9.      In this Circuit, an entity must be eligible to be a debtor under section 109(a) of the

Bankruptcy Code before its foreign proceeding can be granted recognition under Chapter 15.

See Drawbridge Special Opportunities Fund LP v. Barnet (In re Barnet), 737 F.3d 238, 247 (2d

Cir. 2013) (“Section 109 . . . applies ‘in a case under chapter 15.’”). Section 109(a) states, in

relevant part, that “only a person that resides or has a domicile, a place of business, or property

in the United States . . . may be a debtor under this title.” 11 U.S.C. § 109(a). See In re Octaviar

Administration Pty Ltd., 511 B.R. 361, 373 (Bankr. S.D.N.Y. 2014)(“[T]he Court must abide by

the plain meaning of the words in the statute. Section 109(a) says, simply, that the debtor must

have property; it says nothing about the amount of such property….”); see also In re Suntech

Power Holding Co. Ltd., 520 B.R. 399 (Bankr. S.D.N.Y. 2014)(same).

       10.     “Where a foreign debtor does not have a place of business in the United States,

the question often arises whether the foreign debtor has ‘property in the United States’ as a

condition precedent to eligibility under section 1517.” In re Ocean Rig UDW Inc., 570 B.R. 687,

699 (Bankr. S.D.N.Y. 2017), appeal dismissed, 585 B.R. 31 (S.D.N.Y. 2018).                Here, the

Company has property in the United States consisting of an undrawn retainer in a bank account




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in this District. 3 See Verified Petition ¶26. See, e.g., In re Ocean Rig, 570 B.R. at 700 (noting

that funds held in a retainer account satisfy section 109(a)); In re Cell C Proprietary Ltd., 571

B.R. 542, 552 (Bankr. S.D.N.Y. 2017) (same); In re Octaviar Administration Pty Ltd., 511 B.R.

at 373-74 (same); In re Suntech Power Holdings Co., Ltd., 520 B.R. 399, 411-12 (Bankr.

S.D.N.Y. 2014) (holding that bank account in United States satisfies debtor eligibility

requirement).

II.       This Case is Proper under Chapter 15

          11.      Chapter 15 of the Bankruptcy Code provides a mechanism for a foreign

representative to obtain, in the United States, recognition of, and assistance for, a foreign

proceeding.       See 11 U.S.C. § 1501(b)(l).           Chapter 15 recognition shall be granted if: (a)

recognition is sought for a “foreign proceeding” that qualifies as either “foreign main” or

“foreign nonmain”; (b) recognition is sought by a “foreign representative”; and (c) the Chapter

15 petition meets certain procedural requirements. See 11 U.S.C. § 1517(a). The legislative

history to Chapter 15 provides that:

                   The decision to grant recognition is not dependent upon any
                   findings about the nature of the foreign proceedings of the sort
                   previously mandated by section 304(c) of the Bankruptcy Code.
                   The requirements of [section 1517], which incorporates the
                   definitions in section 1502 and sections 101(23) and (24), are all
                   that must be fulfilled to attain recognition.

H.R. REP. 109-31, pt. 1 (2005).              Thus, recognition under sections 1517(a) and (b) of the

Bankruptcy Code is mandatory where, as here, a Chapter 15 petition meets the statutory

requirements.



3
      In addition to the undrawn retainer, the Company may have cash and securities held in banks in the United
      States. The Petitioners have been informed that certain accounts in the Company’s name were recently closed,
      and the Petitioners intend to seek discovery in order to ascertain if other accounts exist and remain open.




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        A.       The Cayman Proceeding is a Foreign Proceeding

        12.      A winding up under the Companies Law Act is a foreign proceeding entitled to

recognition under Chapter 15 of the Bankruptcy Code.4 See In re Ocean Rig, 570 B.R. at 701. A

foreign proceeding has seven elements:

                 (i) [the existence of] a proceeding; (ii) that is either judicial or
                 administrative; (iii) that is collective in nature; (iv) that is in a
                 foreign country; (v) that is authorized or conducted under a law
                 related to insolvency or the adjustment of debts; (vi) in which the
                 debtor’s assets and affairs are subject to the control or supervision
                 of a foreign court; and (vii) which proceeding is for the purpose of
                 reorganization or liquidation.

In re Ashapura Minechem Ltd., 480 B.R. 129, 136 (Bankr. S.D.N.Y. 2012) (quoting In re

Betcorp Ltd., 400 B.R. 266, 277 (Bankr. D. Nev. 2009)) (alteration in original); see also In re

ABC Learning Centres Ltd., 445 B.R. 318, 327 (Bankr. D. Del. 2010), aff’d, 728 F.3d 301 (3d

Cir. 2013) (citation omitted) (identifying the same seven elements); see 11 U.S.C. § 101(23).

                 i.       The Cayman Proceeding is a “Proceeding”

        13.      For the purpose of Chapter 15 recognition, “the hallmark of a ‘proceeding’ is a

statutory framework that constrains a company’s actions and that regulates the final distribution

of a company’s assets.” Betcorp, 400 B.R. at 278. Here, the relevant statutory framework is

provided by the Companies Law. As described in the Kish Declaration, the Companies Law

governs the liquidation and winding up of the Company. See Kish Declaration ¶ 15; see also In

re Ocean Rig, 570 B.R. at 701 (noting that the Companies Law “is applicable to corporate
4
    The conclusion that the Cayman Proceedings are foreign proceedings within the meaning of section 101(23) is
    further supported by precedent. On multiple occasions, this Court has previously held that insolvency
    proceedings under Cayman Islands law qualify as foreign proceedings under chapter 15 of the Bankruptcy
    Code. See, e.g., In re Suntech Power Holdings Co., 520 B.R. 399 (Bankr. S.D.N.Y. 2014) (provisional
    liquidation); In re Platinum Partners Value Arbitrage Fund et al., No. 16-12925 (SCC) [ECF No. 27] (Bankr.
    S.D.N.Y. Nov. 23, 2016) (official liquidation); In re Ardent Harmony Fund, Inc., No. 16-12282 (MG) [ECF No.
    17] (Bankr. S.D.N.Y. Sept. 1, 2016) (official liquidation); In re Caledonian Bank Ltd., No. 15-10324 (MG)
    [ECF No. 39] (Bankr. S.D.N.Y. Mar. 17, 2015) (official liquidation). This Court has previously noted that there
    does not appear to be “any case in which a U.S. bankruptcy court found that a Cayman liquidation or scheme
    proceeding did not satisfy the requirements of section 101(23).” See In re Ocean Rig, 570 B.R. at 702.




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insolvencies”).         Because the Cayman Proceeding is operating under the framework of the

Companies Law, it is a “proceeding” within the meaning of 11 U.S.C. §101(23).

                  ii.       The Cayman Proceeding is Both
                            Judicial and Administrative in Character

       14.        Second, the Cayman Proceeding is judicial and administrative in character. See

ABC Learning Centres, 445 B.R. at 328 (“The Court finds that the Liquidation Proceedings are

primarily administrative in character, and at times judicial in character.”). Actions taken by the

Petitioner, “such as sending a notice of liquidation and requesting proofs of debt, have an

administrative character.” Betcorp 400 B.R. at 280. In addition, the Cayman Proceeding is

judicial in character given the substantial judicial oversight over the Cayman Proceeding and the

Petitioners that can be invoked by interested persons, including a creditor. See Kish Declaration

¶¶ 17, 20, and 21. Indeed, the judicial character of the Cayman Proceeding has already become

evident as the Petitioners were appointed to be the Joint Official Liquidators of the Company by

the Cayman Court. See Verified Petition, Exhibits A, B; see Kish Declaration ¶22. Moreover

the Cayman Court expressly authorized the Petitioners to file this Chapter 15 case. See Verified

Petition, Exhibit C; see Kish Declaration ¶22. Thus, the Cayman Proceeding is administrative

and judicial in character.

                  iii.      The Cayman Proceeding is Collective in Nature

       15.        Third, the Cayman Proceeding is collective in nature. “A proceeding is collective

in nature if it ‘considers the rights and obligations of all creditors.’” In re Ashapura Minechem

Ltd., No. 11–14668, 2011 WL 5855475, at *3 (Bankr. S.D.N.Y. Nov. 22, 2011) (quoting

Betcorp, 400 B.R. at 281). “The ‘collective proceeding’ requirement is intended to limit access

to Chapter 15 to proceedings which benefit creditors generally and to exclude proceedings which

are for the benefit of a single creditor.” 8 COLLIER ON BANKRUPTCY ¶ 1501.03[1], 1501-7 (16th




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ed. Rev. 2009). A winding up under the Companies Law is collective because it benefits

creditors generally. Under the Companies Law, a company’s assets are distributed ratably to all

creditors. See Kish Declaration ¶¶ 14, 21. Indeed, this Court previously held that liquidations

under the Companies Law are “collective judicial proceedings.” See In re Ocean Rig, 570 B.R.

at 701.

                iv.      The Cayman Proceeding is Pending in a Foreign County

          16.   Fourth, the Cayman Proceeding is pending in a foreign country. The Cayman

Court, which ordered that the Company be wound-up and appointed the Petitioners as the

Official Liquidators of the Company, is located in the Cayman Islands, a British Overseas

Territory. Likewise, the Petitioners themselves are located in the Cayman Islands and are

managing the winding up of the Company from the Cayman Islands under the auspices of the

Companies Law.        Therefore, there should be no dispute that the Cayman Proceedings are

pending in the Cayman Islands, a foreign country.

                v.       The Cayman Proceeding is Occurring under
                         a Law Relating to Insolvency or Adjustment of Debt

          17.   Fifth, the Cayman Proceeding was initiated under a law relating to insolvency or

adjustment of debt. The Cayman Proceeding was commenced under the Companies Law, which

provides for three different modes of winding up Cayman Islands companies: (1) compulsory

winding up by order of the Cayman Court, (2) voluntary winding up initiated by a resolution of

the shareholders, and (3) voluntary winding up initiated by a resolution of the shareholders, but

subject to the supervision of the Cayman Court. See Kish Declaration ¶ 16. Consequently, the

Companies Law constitutes a law relating to insolvency or the adjustment of debt. See In re

Ocean Rig, 570 B.R. at 701 (noting that the Companies Law “is a ‘law relating to insolvency or

adjustment of debt’”).




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               vi.      The Cayman Proceeding Subjects the Company’s Assets
                        and Affairs to a Foreign Court’s Control or Supervision

       18.     Sixth, the Cayman Proceeding subjects the Company’s assets and affairs to a

foreign court’s control or supervision. See In re Ocean Rig, 570 B.R. at 701 (“A Cayman

debtor’s assets and affairs are subject to the control or supervision of the Cayman Court in both

provisional liquidation proceedings and proceedings seeking sanctioning of schemes of

arrangement.”). In the Cayman Proceeding, various parties, including creditors, have access to

the Cayman Court and may seek relief from the Court, including a stay of the liquidation and

leave from the Court to pursue claims against the Company. See Kish Declaration ¶¶ 19, 20.

               vii.     The Cayman Proceeding is for the Purpose of Liquidation

       19.     Finally, the Cayman Proceeding is for the purpose of liquidation. Under Section

110 of the Companies Law, a liquidator’s duty is, among other things, to collect, realize and

distribute the assets of the company to its creditors and if there is a surplus, to equity holders.

See Kish Declaration ¶23. “The aim of a winding up is to ensure an orderly and ratable

distribution of the property (if any) of a company to the company’s stakeholders.”            Kish

Declaration ¶ 14. As such, the ultimate purpose of the Cayman Proceeding is to liquidate the

Company and distribute its assets to its creditors.

       B.      This Case Was Commenced by the Company’s Foreign Representatives

       20.     This Chapter 15 case was commenced by duly appointed and authorized “foreign

representatives” within the meaning of section 101(24) of the Bankruptcy Code. That section

provides as follows:

               The term “foreign representative” means a person or body,
               including a person or body appointed on an interim basis,
               authorized in a foreign proceeding to administer the reorganization
               or the liquidation of the debtor’s assets or affairs or to act as a
               representative of such foreign proceeding.




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11 U.S.C. § 101(24).

        21.      Given that a foreign proceeding must be for the purpose of “reorganization or

liquidation,” it is axiomatic that persons appointed specifically to liquidate a company are

regularly recognized as foreign representatives.5 As demonstrated by the evidence submitted on

behalf of the Petitioners, including the Kish Declaration and the September 5 Order, the

Petitioners are duly authorized to act as the Company’s and the Cayman Proceeding’s foreign

representatives in these Chapter 15 cases. In particular, the September 5 Order specifically states

that the Petitioners “are permitted to file a petition for recognition of the official liquidation and

requests for orders granting additional relief under Chapter 15 of the United States Bankruptcy

Code in the United States." See Verified Petition Ex. C.

        22.      Based on the evidence submitted on behalf of the Petitioners, including the Kish

Declaration and the Verified Petition and the exhibits thereto, the Petitioners are duly authorized

to jointly act as the Company’s foreign representatives, as defined under section 101(24), in this

Chapter 15 case.

        C.       This Chapter 15 Case was Properly Commenced

        23.      This Chapter 15 case was duly and properly commenced, as required by sections

1504 and 1509 of the Bankruptcy Code, by the filing of the Petition, accompanied by all

documents and information required by sections 1515(b) and (c). See In re Bear Stearns High-

Grade Structured Credit Strategies Master Fund, Ltd., 374 B.R. 122, 127 (Bankr. S.D.N.Y.

2007), aff’d, 389 B.R. 325 (S.D.N.Y. 2008) (“A case under chapter 15 is commenced by a

foreign representative filing a petition for recognition of a foreign proceeding under section 1515

5
    See, e.g., In re SPhinX, Ltd., 351 B.R. 103 (Bankr. S.D.N.Y. 2006), aff’d, Krys v. Official Comm. of Unsecured
    Creditors of Refco, Inc. (In re SPhinX, Ltd.), 371 B.R. 10 (S.D.N.Y. 2007) (recognizing joint liquidators in a
    winding-up under Cayman Island law as foreign representatives); In re Britannia Bulk PLC, No. 08-14543
    (Bankr. S.D.N.Y. December 12, 2008) (recognizing liquidators who were appointed pursuant to the laws of
    England and Wales, and who were originally appointed as administrators, as foreign representatives).




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of the Bankruptcy Code.”). The Petitioners properly commenced this Chapter 15 case because

the Petition satisfies the requirements set forth in section 1515 of the Bankruptcy Code.

III.   The Cayman Proceeding Should be Recognized as a Foreign Main Proceeding

       24.     This Court should recognize the Cayman Proceeding as a “foreign main

proceeding” as defined in section 1502(4) of the Bankruptcy Code. A foreign proceeding must

be recognized as a “foreign main proceeding” if it is pending in the country where the debtor has

the center of its main interests (“COMI”). See 11 U.S.C. § 1517(b)(l). The Company’s COMI is

located in the Cayman Islands, where the Cayman Proceeding is pending. Accordingly, the

Cayman Proceeding should be recognized as a foreign main proceeding.

       25.     A company’s COMI is presumed to be wherever its registered office is located.

See 11 U.S.C. § 1516(c); see also In re Millennium Global Emerging Credit Master Fund Ltd.,

458 B.R. 63, 76 (Bankr. S.D.N.Y. 2011) (finding that the Bankruptcy Code “establishes a

rebuttable presumption that the COMI is at the debtor’s registered office”), aff’d, 474 B.R. 88

(S.D.N.Y. 2012). Here the Company’s registered office is located in the Cayman Islands. See

Verified Petition ¶ 1(b). Accordingly, the Cayman Islands is presumed to be the Company’s

COMI. While that presumption is rebuttable, see In re Bear Stearns High-Grade Structured

Credit Strategies Master Fund, Ltd., 374 B.R. 122, 130 (Bankr. S.D.N.Y 2007), aff’d, 389 B.R.

325 (S.D.N.Y. 2008), there is no reason for the Court to reject that presumption in this case.

       26.     As the United States Court of Appeals for the Second Circuit has held, “a debtor’s

COMI should be determined based on its activities at or around the time the Chapter 15 petition

is filed, as the statutory text suggests.” Morning Mist Holdings Ltd. v. Krys (In re Fairfield

Sentry Ltd.), 714 F.3d 127, 137 (2d Cir. 2013). A “court may certainly consider a debtor’s

‘nerve center,’ including from where the debtor’s activities are directed and controlled, in

determining a debtor’s COMI.” Id. at 138, n.10; see also Bear Stearns, 374 B.R. at 130 (noting



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that debtors’ center of main interests is where the debtors “conduct the administration of their

interests on a regular basis and is therefore ascertainable by third parties.”). Moreover, “COMI

can be premised on liquidation activities,” including collecting assets and paying creditors.

Millennium Global, 458 B.R. at 86 (citing Fairfield Sentry, 440 B.R. at 64 and British Am. Ins.

Co., 425 B.R. at 884).

          27.   As of the filing of the Petition, the Company’s COMI is in the Cayman Islands

because that is the location of the Company’s “nerve center” and is the jurisdiction where the

Petitioners are conducting the liquidation of the Company. As described in greater detail in the

Verified Petition, the Petitioners, who are located in the Cayman Islands, under supervision and

oversight by the Cayman Court, which is also located in the Cayman Islands, are managing the

Company’s liquidation activities from the Cayman Islands. In accordance with their fiduciary

duties, the Petitioners have taken the necessary steps to centralize the administration of the

Company’s winding up and the Cayman Proceeding in the Cayman Islands. In particular, the

Petitioners have: (i) recovered the Company’s statutory books from the Company’s former

registered office provider, and are maintaining such books in the Cayman Islands; (ii) given

actual notice of their appointment and the first meeting of creditors to known creditors and

published such notice in the Cayman Islands Gazette, which is the official newspaper of the

Cayman Island’s government, and posted notice on the Company’s website; and (iii) convened a

meeting of creditors in the Cayman Islands and have had creditors submit proofs of debt in the

Cayman Islands. The Petitioners have also taken steps to protect and realize the Company’s

assets.    Among other things, the Petitioners have recovered cash and securities totalling

approximately $46 million from one of the Company’s brokers in the United Kingdom and have

transferred those funds to accounts maintained in the Cayman Islands. Moreover, the Petitioners




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will oversee and manage distributions to creditors and any litigation involving the Company

from the Cayman Islands. Accordingly, the Company’s COMI is in the Cayman Islands because

that is the jurisdiction of the liquidation activities related to the Company.

          28.      Based on all of these factors, the Cayman Islands is the only jurisdiction that is

readily ascertainable by third parties as the Company’s COMI. See Bear Stearns, 374 B.R. at

130 (noting that debtors’ center of main interests is where the debtors “conduct the

administration of their interests on a regular basis and is therefore ascertainable by third

parties.”). Because the evidence establishes that the Company’s COMI is located in the Cayman

Islands, the Cayman Proceeding should be recognized as a foreign main proceeding.

IV.       The Requested Relief Should be Granted

          29.      All of the relief sought by the Verified Petition, including (a) staying actions

concerning or against any of Debtors’ assets, (b) suspending the right to transfer, encumber or

otherwise dispose of any of the Debtors’ assets, and (c) entrusting the administration or

realization of all of the Debtors’ assets within the territorial jurisdiction of the United States to

the Petitioners, is available and should be granted. As set forth below certain of the requested

relief is automatically available under section 1520 of the Bankruptcy Code, which provides for

automatic relief upon recognition of a foreign main proceeding. See 11 U.S.C. § 1520.6 Other


6
      If this Court were to conclude that any of the requested relief is not available as a matter of right under section
      1520 or at this Court’s discretion under section 1521, relief may be granted pursuant to section 1507 of the
      Bankruptcy Code. Section 1507 authorizes this Court to “provide additional assistance to a foreign
      representative under [the Bankruptcy Code] or under other laws of the United States.” 11 U.S.C. § 1507. In
      deciding whether to extend relief under section 1507, this Court must consider principles of comity and
      determine whether the requested relief would reasonably assure: (a) just treatment of the Companies’ creditors
      and equity holders; (b) protection of the Companies’ United States creditors against prejudice and
      inconvenience in claim processing; (c) prevention of preferential or fraudulent dispositions of the Companies
      ‘property; and (d) distribution of the Companies’ property substantially in accordance with the Bankruptcy
      Code’s priority scheme. See id. “These provisions embody the protections that were previously contained in
      section 304 of the Bankruptcy Code . . . .” In re Rede Energia S.A., 515 B.R. 69, 95 (Bankr. S.D.N.Y. 2014).
      Given the long history of Cayman Islands liquidations being recognized in the United States, there can be no
      doubt that these criteria are satisfied.




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portions of the requested relief are available under section 1521 of the Bankruptcy Code, which

provides this Court with discretion to grant additional relief upon recognition of a foreign

proceeding. See 11 U.S.C. § 1521.

        A.      The Petitioners are Entitled to Relief under Section 1520

        30.     Upon recognition of a foreign main proceeding, certain relief is automatically

granted as a matter of right. See In re Rede Energia S.A., 515 B.R. at 89 (“If a foreign case is

recognized as a foreign main proceeding, as it was here, certain relief automatically goes into

effect, pursuant to 11 U.S.C. § 1520 . . . .”); 11 U.S.C. § 1520. This relief includes, among other

things, imposition of an automatic stay with respect to the foreign debtor and all of its property in

the United States. See 11 U.S.C. § 1520(a)(l) (“Upon recognition of a foreign proceeding that is

a foreign main proceeding . . . sections 361 and 362 apply with respect to the debtor and the

property of the debtor that is within the territorial jurisdiction of the United States.”).

        31.     An order recognizing a foreign proceeding shall be entered if all of the

requirements for recognition have been met. See 11 U.S.C. § 1517. As set forth above: (i) the

Company is eligible to be a Chapter 15 debtor pursuant to section 109(a) of the Bankruptcy

Code; (ii) the Cayman Proceeding is a foreign proceeding; (iii) the Petitioners are the Company’s

foreign representatives; and (iv) the Petition satisfies the requirements of section 1515 of the

Bankruptcy Code.       Therefore, this Court should enter an order recognizing the Cayman

Proceeding as a foreign main proceeding, and grant all relief that is automatically available upon

recognition of a foreign main proceeding, including imposition of the automatic stay with respect

to all of the Company’s property in the United States.

        B.      The Petitioners are Entitled to the Relief Requested under Section 1521

        32.     In addition to the relief that is automatically provided by section 1520, the

Petitioners seek a variety of relief under section 1521 of the Bankruptcy Code to assist in the



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effective administration of the Cayman Proceeding. Upon recognition of a foreign proceeding,

at the request of the foreign representative, the Court may, at the request of the foreign

representative

        where necessary to effectuate the purpose of this chapter and to protect the assets of the
       debtor or the interests of creditors . . . grant any appropriate relief including -
               (1) staying the commencement or continuation of an individual action or
       proceeding concerning the debtor’s assets, rights, obligations or liabilities to the extent
       they have not been stayed under section 1520(a);
               (2) staying execution against the debtor’s assets to the extent it has not been
       stayed under section 1520(a);
               (3) suspending the right to transfer, encumber or otherwise dispose of any assets
       of the debtor to the extent this right has not been suspended under section 1520(a);
                                                *       *      *
               (7) entrusting the administration or realization of all or part of the debtor’s assets
       within the territorial jurisdiction of the United States to the foreign representative.


11 U.S.C. § 1521(a). Section 1521 authorizes this Court to grant injunctive relief, provided that

the foreign representative demonstrates that the traditional standards for issuance of an injunction

have been met. See 11 U.S.C. § 1521(e). Those standards require that a court consider whether:

(i) the plaintiffs are likely to succeed on the merits of their claims; (ii) there is no adequate

remedy at law; and (iii) the balance of equities favors granting such relief. Travellers Int’l AG v.

Trans World Airlines, Inc., 722 F. Supp. 1087, 1096 (S.D.N.Y. 1989), aff’d, 41 F.3d 1570 (2d

Cir. 1994); New York State Nat’l Org. for Women v. Terry, 704 F. Supp. 1247, 1262 (S.D.N.Y.),

aff’d as modified, 886 F.2d 1339 (2d Cir. 1989), cert. denied, 495 U.S. 947 (1990).

       33.       Here, the Petitioners have requested a variety of relief, including injunctive relief,

that is designed to assist in the liquidation of the Company and “prevent[ing] individual

American creditors from arrogating to themselves property belonging to the creditors as a

group.” In re Banco Nacional de Obras y Servicios Publicos, S.N.C., 91 B.R. 661, 664 (Bankr.




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S.D.N.Y. 1988). Because the Petitioners satisfy all of the requirements for injunctive relief, this

relief should be granted.

               i.      Petitioners Have Demonstrated a Likelihood of Success on the Merits

       34.     As described herein, the Petitioners have demonstrated a likelihood of success as

to the merits of the Verified Petition. First, the Company has property in the United States and is

therefore entitled to be a debtor under the Bankruptcy Code. Second, this case is proper under

Chapter 15 of the Bankruptcy Code. Third, the Cayman Proceeding is pending in the Cayman

Islands, where the Company has its COMI, and is therefore entitled to recognition as a foreign

main proceeding. Finally, and as set forth below, neither recognition nor any of the other relief

sought herein would be manifestly contrary to the public policy of the United States.

Accordingly, the Petitioners are likely to succeed in any dispute regarding the merits of the

Verified Petition.

               ii.     No Adequate Remedy at Law

       35.     Irreparable harm is one basis for establishing the inadequacy of any legal remedy.

Travellers, 722 F. Supp. at 1096. Courts consistently hold that “the premature piecing out of

property involved in a foreign liquidation proceeding constitutes irreparable injury.” In re Lines,

81 B.R. 267, 270 (Bankr. S.D.N.Y. 1988). Moreover, disruption of the orderly determination of

claims and the fair distribution of assets of an estate constitutes irreparable harm. See Victrix

S.S. Co. S.A. v. Salem Dry Cargo A.B., 825 F.2d 709, 713-14 (2d Cir. 1987).                    Finally,

irreparable harm has been found where allowing litigation to go forward would: (i) threaten the

assets of a foreign estate; (ii) subject a foreign representative to a default judgment; or (iii) divert

funds needed for the purpose of maximizing value for the estate’s creditors. See In re Gercke,

122 B.R. 621, 626 (Bankr. D.C. 1991).




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       36.     Absent the relief requested, the Petitioners may be forced to choose between a

number of unappealing alternatives, any one of which would constitute irreparable harm. If

entities in the United States are not enjoined, any assets of the Company’s estate may be

prematurely pieced out and the orderly determination of claims and the fair distribution of assets

in the foreign proceeding will be severely disrupted. To prevent such a premature piecing-out,

the Petitioners may be forced to expend finite resources of the Company in defense of

attachment and other similar actions. As noted above, such an expenditure of limited estate

resources in defense of creditor attachment efforts would itself constitute irreparable harm to the

Company and its creditors. See In re Gercke, 122 B.R. at 626. Alternatively, the Petitioners

could forego their defenses altogether, resulting in irreparable harm in the form of default

judgments and affording unfair advantage to some creditors to the detriment of others. Id.; In re

Lines, 81 B.R. at 270. Thus, unless the relief requested is granted, the Company and its creditors

will suffer irreparable harm.

               iii.     The Balance of Equities Tips Decidedly in Favor of the Petitioners

       37.     The relief requested under section 1521 will cause little or no hardship to United

States creditors. Rather, all of the Company’s creditors will benefit from such relief, including

injunctive relief, which will further the Petitioners' efforts to collect, recover, and distribute the

Company’s assets to creditors in the Cayman Proceeding under the Companies Law.

       38.     The Petitioners are seeking relief under section 1521 to ensure that they can

comply with their duties under the Companies Law and administer the Company’s assets for the

benefit of the Company’s estate and its creditors. Such relief will assist the Petitioners in meeting

their obligation to collect the Company’s property and distribute the proceeds thereof to

creditors. Absent the relief requested, the Petitioners will not be able to administer the Debtors’

assets in the United States to the detriment of creditors. Moreover, the centralization of the



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winding up of the Company in the Cayman Proceeding will benefit all creditors and interested

parties by “prevent[ing] conflicting judgments from different courts and . . . harmoniz[ing] all of

the creditors’ interests with one another.” Fidelity Mortg. Investors v. Camelia Builders, Inc.,

550 F.2d 47, 55 (2d Cir. 1976), cert. denied, 429 U.S. 1093, and reh’g denied, 430 U.S. 976

(1977). As this court has previously observed, “the foreign court which presides over the

original proceeding is in the best position to assess where and when claims should be liquidated

so as to conserve estate resources and maximize the assets available for distribution.” In re Bird,

222 B.R. 229, 233 (Bankr. S.D.N.Y. 1998) (citation omitted); see also Armco Inc. v. North

Atlantic Ins. Co. (In re Bird), 229 B.R. 90, 94 (Bankr. S.D.N.Y. 1999) (counterclaims asserted

against debtor in adversary proceeding prohibited by preliminary injunction and should be

determined in the foreign proceeding).

       39.     In contrast, without the requested relief, there can be no equitable and orderly

distribution of the Company’s assets pursuant to a unified, comprehensive statutory framework

provided by the Companies Law in the Cayman Islands. Without the requested relief, it will be

impossible for the Petitioners to maximize the value of the Company’s assets in the United States

for the benefit of creditors. Such an outcome would be contrary to the fundamental purpose of

the Bankruptcy Code. See Cunard Steamship Co. Ltd. v. Salen Reefer Services A.B., 773 F.2d

452, 459 (2d Cir. 1985) (the “guiding premise of the Bankruptcy Code . . . is the equality of

distribution of assets among creditors.”). Accordingly, the balance of the equities tips decidedly

in favor of the Petitioners and the requested relief is appropriate under section 1521 of the

Bankruptcy Code.




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V.     Recognition of the Cayman Proceeding Would Not be
       Manifestly Contrary to the Public Policy of the United States

       40.     Section 1506 of the Bankruptcy Code provides that nothing in Chapter 15 requires

this Court to take any action that would be manifestly contrary to the public policy of the United

States. 11 U.S.C. § 1506. “[F]ederal courts in the United States have uniformly adopted the

narrow application of the public policy exception.” In re OAS S.A., 533 B.R. 83, 103 (Bankr.

S.D.N.Y. 2015) (citing Fairfield Sentry, 714 F.3d at 139). The relief requested by the Petitioners

is not manifestly contrary to, but rather consistent with, United States public policy.

       41.     One of the fundamental goals of the Bankruptcy Code is the centralization of

disputes involving the debtor. See, e.g., In re Ionosphere Clubs, Inc., 922 F.2d 984, 989 (2d Cir.

1990) (“The Bankruptcy Code ‘provides for centralized jurisdiction and administration of the

debtor, its estate and its reorganization in the Bankruptcy Court . . . .’”). Indeed, “the firm policy

of American courts is the staying of actions against a corporation which is the subject of a

bankruptcy proceeding in another jurisdiction.” Cornfeld v. Investors Overseas Servs., Ltd., 471

F. Supp. 1255, 1259 (S.D.N.Y. 1979) (recognizing that a Canadian liquidation proceeding would

not violate the laws or public policy of New York or the United States).                  The Cayman

Proceeding, like a case under chapter 7 of the Bankruptcy Code, provides a centralized process

to (i) assert and resolve claims against an estate and (ii) make distributions to creditors.

Recognizing the Cayman Proceeding and granting the requested relief under section 1521 of the

Bankruptcy Code would assist in the centralization of disputes in a single jurisdiction. That

result is demonstrably consistent with the public policy of the United States. See id. at 1259.

       42.     Further, recognition of the Cayman Proceeding would be consistent with the

purpose of Chapter 15 and its predicate, the UNCITRAL Model Law on Cross-Border

Insolvency. Section 1501 of the Bankruptcy Code provides, in pertinent part that:




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               The purpose of this chapter is to incorporate the Model Law on Cross-
               Border Insolvency so as to provide effective mechanisms for dealing with
               cases of cross-border insolvency with the objectives of -
                      (1)     cooperation between -
                                          ***
                              (B)    the courts and other competent authorities of
                              foreign countries involved in cross-border insolvency
                              cases;
                                          ***
                      (3)     fair and efficient administration of cross-border
                              insolvencies that protects the interests of all creditors, and
                              other interested entities, including the debtor;
                      (4)     protection and maximization of the value of the debtor’s
                              assets.

11 U.S.C. § 1501.

       43.     Granting recognition to the Cayman Proceeding and granting the Petitioners the

relief requested is consistent with, and critical to effectuate, the objectives of Chapter 15 for

multiple reasons. First, recognition of the Cayman Proceeding would foster cooperation between

the Cayman Court and United States courts because it would enable the Petitioners to identify

and effectively administer additional assets of the Company located in the United States in

accordance with the Companies Law under the supervision of the Cayman Court.

       44.     Second, recognition of the Cayman Proceeding and related relief would enhance

the Petitioners’ ability to comply with their duty to collect and maximize the value of the

Company’s assets for the benefit of the Company’s creditors. As described in greater detail in

the Verified Petition, the Petitioners currently possess incomplete information regarding the

Company’s finances, but are aware that the Company, until recently had, and may still have,

assets in the United States in the form of cash and securities held in bank accounts maintained by

certain U.S. banks. Chapter 15 relief will allow the Petitioners to seek discovery that may be

essential in determining whether the Company currently has assets in the United States and



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whether it would be appropriate or necessary to commence actions in the United States to

recover them.7 Moreover, Chapter 15 relief would provide the Petitioners with the requisite

authority to assert control over the Company’s assets in the United States in accordance with

their duties and obligations under the Companies Law.

                 45.      Finally, recognition of the Cayman Proceeding would promote the fair and

efficient administration of a cross-border insolvency that protects the interests of all creditors and

interested entities. By recognizing the Cayman Proceeding and granting the relief requested, this

Court would help ensure that the administration of the Company’s assets located in the United

States and the process of resolving claims against the Company would be centralized in the

Cayman Islands. If entities are not stayed from disposing or transferring the Company’s assets in

the United States without the Petitioners’ consent, the Petitioners will not be able to properly

administer the Company’s assets for the benefit of all creditors. Moreover, if actions against the

Company are not stayed, the orderly liquidation of the Company may be jeopardized and the

Petitioners may be forced to expend resources unnecessarily (i) to defend actions against the

Company in the United States, or (ii) to bring actions to enjoin the transfer of the Company’s

assets or to preserve the proceeds of such transfers for the benefit of all creditors and parties in

interest.

        46.      Accordingly, the relief requested would further the objectives of Chapter 15 by

assisting the implementation of the Cayman Proceeding.




7
    If and when the Petitioners determine that such recovery actions or other claims or causes of action should be
    pursued in the United States for the benefit of the Company’s creditors, recognition of the Cayman Proceeding
    may be necessary to allow the Petitioners access to United States courts pursuant to section 1509(b) of the
    Bankruptcy Code.




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                                             CONCLUSION

           For the foregoing reasons, the Petitioners respectfully request that this Court grant the

relief requested in the Verified Petition.


   Dated: New York, New York
   September 18, 2018

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